Case 2:15-cr-00143-JDL Document 93 Filed 03/08/16 Page 1 of 5         PageID #: 193




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

UNITED STATES OF AMERICA                )
                                        )
                    v.                  )     2:15-cr-00143-JDL
                                        )
JONATHAN DAY,                           )
                                        )
      Defendant.                        )


    ORDER ON DEFENDANT JONATHAN DAY’S MOTION FOR RELIEF
   FROM PREJUDICIAL JOINDER AND TO SEVER COUNTS I AND VIII
               FROM SUPERSEDING INDICTMENT

      A hearing on Defendant Jonathan Day’s Motion for Relief from Prejudicial

Joinder and to Sever Counts I and VIII from Superseding Indictment was held on

March 4, 2016. For reasons I will explain, I deny the motion.

                                 I. BACKGROUND

      Jonathan Day and his co-defendants, Scot Stolkner and Angela Green, are

charged in a ten-count superseding indictment that alleges various drug-related

violations of Title 21 of the United States Code:

             Count I names all three defendants and concerns a drug conspiracy
              between January 2015 and July 2015.

             Count II, which alleges a conspiracy, and counts III and IV relate only
              to Stolkner for alleged drug activity between August and December
              2014.

             Counts V, VI and VII relate to Stolkner and Green for alleged drug
              activity on or about January 22, February 3, and February 20, 2015.

             Count VIII relates to Stolkner and Day for alleged drug activity on or
              about April 17, 2015.
Case 2:15-cr-00143-JDL Document 93 Filed 03/08/16 Page 2 of 5          PageID #: 194




            Counts IX and X relate only to Stolkner for alleged drug activity on or
             about June 3, 2015, and July 30, 2015.
      According to the Government, the drug activities during the period August to

December 2014 which are the subject of Counts II, III and IV relate to a drug

conspiracy that preceded, but was foundational to and helps to explain the drug

conspiracy charged in Count I for which the remaining counts—Counts V through

X—allege overt acts. Stolkner is the only individual charged in connection with the

conspiracy charged in Count III and, at hearing, the Government affirmatively

represented that Day had no involvement with that conspiracy.

                                   II. JOINDER

      Day contends that the superseding indictment improperly joins him with

defendants Stolkner and Green because “a review of the ‘four corners’ of all but Count

VIII of the Superseding Indictment reveals no evidence that Day participated in a

common scheme or plan with Stolkner or Green.” ECF No. 78 at 9.

      Rule 8(b) of the Federal Rules of Criminal Procedure provides:

             The indictment or information may charge 2 or more defendants
      if they are alleged to have participated in the same act or transaction,
      or in the same series of acts or transactions, constituting an offense or
      offenses. The defendants may be charged in one or more counts together
      or separately. All defendants need not be charged in each count.

Fed. R. Crim. P. 8(b). The superseding indictment in this case satisfies all of Rule

8(b)’s requirements. Day, Stolkner, and Green are charged as co-conspirators in

Count I as engaging in the same act or transaction, and Counts V, VI, VII, VIII, IX,

and X allege individual crimes that constitute overt acts associated with the

conspiracy committed by one or more of the co-conspirators. The conspiracy count is

the “connecting link” between six other counts of the ten count superseding
                                          2
Case 2:15-cr-00143-JDL Document 93 Filed 03/08/16 Page 3 of 5             PageID #: 195




indictment. See United States v. Natanel, 938 F.2d 302, 306 (1st Cir. 1991). Because

there is a rational basis for the joinder of these counts, the requirements of Rule 8(b)

are met. Id. (“[A] rational basis for joinder of multiple counts should be discernible

from the face of the indictment.”).

                                  III. SEVERANCE

      Day also seeks to sever his trial from that of Stolkner and Green for three

reasons.   First, he argues that the evidence related to the eight counts of the

superseding indictment in which he is not named could have a prejudicial spillover

effect on a jury’s determination of his innocence or guilt for purposes of Counts I and

VIII—the two counts in which he is named. ECF No. 78 at 4-5. Second, Day argues

that the Government may present evidence to establish that Stolkner or Green “are

dishonest or have questionable characters” and that this evidence would taint the

jury’s evaluation of Day’s honesty and character. Id. at 5. Third, Day argues that,

absent severance, his decision whether to testify at trial will be compounded by the

possibility of his need to respond to evidence associated with the counts in which he

is not named. Id. at 6.

      Rule 14(a) of the Federal Rules of Criminal Procedure provides that “[i]f joinder

of offenses in an indictment . . . appears to prejudice a defendant . . . the court may

order separate trials of counts, sever the defendants’ trials, or provide any other relief

that justice requires.” Severance is justified where it is shown that a defendant will

be substantially prejudiced by a joint trial. United States v. Tashjian, 660 F.2d 829,

834 (1st Cir. 1981) (citing United States v. Patterson, 644 F.2d 890, 900 (1st Cir.

1981)). The First Circuit has characterized the rule as requiring a “strong showing

                                            3
Case 2:15-cr-00143-JDL Document 93 Filed 03/08/16 Page 4 of 5           PageID #: 196




of prejudice.” U.S. v. Thomann, 609 F.2d 560, 564 (1st Cir. 1979), and that “in the

context of conspiracy, severance will rarely, if ever, be required.” U.S. v. Brandon, 17

F.3d 409, 440 (1st Cir. 1994) (citation omitted).

      I conclude that Day has not made a strong showing of prejudice in this case for

the following reasons:

      First, Day argues that he will be prejudiced by evidentiary spillover in a joint

trial. Here, because all three defendants are charged as part of the conspiracy

charged in Count I, and because Counts V through X of the indictment charge overt

acts in furtherance of the conspiracy, evidence as to those acts will most probably be

admissible against Day whether he is tried alone or along with Stolkner and Green.

In addition, a jury should have little difficulty differentiating between the evidence

introduced with respect to the three counts (Counts II, III, and IV) that are unrelated

to the conspiracy charged in Count I. This is because Counts II, III, and IV arose

during the period from August to December 2014, whereas the relevant time period

for the conspiracy charged in Counts I and V through X began in January 2015. The

likelihood of prejudicial spillover is insubstantial.

      Second, Day’s argument regarding possible prejudice from the Government’s

introduction of character evidence relevant only to Stolkner and Green is equally

unpersuasive. The Government represents that it is unaware of any Rule 404(b)

evidence regarding other crimes that it will seek to introduce as to defendants

Stolkner or Green. The management of any risk of prejudice associated with other

forms of character evidence the Government might seek to introduce is provided by



                                            4
Case 2:15-cr-00143-JDL Document 93 Filed 03/08/16 Page 5 of 5          PageID #: 197




the applicable rules of evidence and are issues that are appropriately considered at

trial. See e.g. Federal Rule of Evidence 403(b).

      Finally, Day has not established that a joint trial will unfairly prejudice his

Fifth Amendment right to remain silent.       He argues, that “were he to be tried

separately, he may not need to take the stand because the jury would hear evidence

only about a purported single drug transaction on April 17, 2015.” ECF No. 78 at 6.

This argument misconstrues the superseding indictment, which contains six counts

of discrete crimes that, the Government contends, are overt acts associated with the

conspiracy charged in Count I. Thus, evidence of those offenses would be relevant

regardless of whether Day is tried separately from or jointly with Stolkner and Green.

In addition, Day has not articulated a reason or reasons establishing that his Fifth

Amendment right will be prejudiced by the Government’s introduction of evidence

relevant to the three counts—Counts II, III, and IV—which are not directly connected

to the conspiracy alleged in Count I.

                                 IV. CONCLUSION

      For the foregoing reasons, Defendant’s Motion for Relief from Prejudicial

Joinder and to Sever Counts I and VIII from Superseding Indictment is DENIED.

      SO ORDERED.


      Dated: March 8, 2016



                                                       /s/ Jon D. Levy
                                                    U.S. DISTRICT JUDGE




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